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         13                               UNITED STATES DISTRICT COURT
         14                               EASTERN DISTRICT OF CALIFORNIA
         15
         16 RALPH COLEMAN,                                     Case No. Civ S 90-0520 LKK-JFM
         17                 Plaintiffs,                        DECLARATION OF JANE E. KAHN IN
                                                               SUPPORT OF PLAINTIFFS’ RESPONSE
         18
                      v.                                       TO DEFENDANTS’ UPDATE TO COURT-
         19                                                    ORDERED PROJECTS, SHORT-TERM
                 ARNOLD SCHWARZENEGGER, et al.,                AND INTERMEDIATE-TERM
         20                                                    PROJECTS, AND LONG-TERM BED
         21                 Defendants.                        PLAN

         22                                                    Hearing Date: September 22, 2009
                                                               Time: 1:30 p.m.
         23
                                                               Judge: The Honorable Lawrence K. Karlton
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                  DECL. OF KAHN ISO PLS.’ RESPONSE TO DEFS.’ UPDATE TO COURT-ORDERED PROJECTS, SHORT-TERM
                  AND INTERMEDIATE-TERM PROJECTS, AND LONG-TERM BED PLAN – CASE NO. CIV S 90-0520 LKK-JFM
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             1         I, Jane E. Kahn, hereby declare:
             2         1.     I am a member of the Bar of this Court and of counsel to Rosen, Bien & Galvan,
             3 LLP, counsel of record for the Plaintiffs in this case. I have personal knowledge of the matters
             4 set forth herein, and if called as a witness I could competently so testify. I make this declaration
             5 in support of Plaintiffs’ Response to Defendants’ Update to Court-Ordered Projects, Short-Term
             6 and Intermediate-Term Projects, and Long-Term Bed Plan.
             7         2.     In the Fiscal Year Budget 2008-009, CDCR submitted a Budget Change Proposal
             8 (BCP) requesting funding to design and construct office and treatment space for the Enhanced
             9 Outpatient Program (EOP) at the California State Prison, Sacramento (CSP-SAC). A true and
         10 correct copy of this BCP, which is also Plaintiffs’ Trial Exhibit P-390 in the overcrowding
         11 matter, is attached hereto as Exhibit A. This EOP construction project was deemed necessary to
         12 provide the program, treatment and office space necessary for the 192 Level IV EOP patients
         13 who were added to the EOP program at CSP-SAC in 2006. Id at 3 of 6. The temporary retrofits
         14 and space conversions for treatment and office space made in 2006 were deemed insufficient as
         15 they did not “provide an adequate therapeutic environment for the seriously mentally disordered
         16 inmate-patients.” Id.
         17            3.     On September 1, 2009, Defendants provided Special Master Lopes and plaintiffs’
         18 counsel with an updated activation schedule for the report period ending August 24, 2009. A
         19 true and correct copy of the September 1, 2009 cover letter and updated activation schedule for
         20 the report period ending August 24, 2009 is attached hereto as Exhibit B. Ex. B includes 14
         21 exhibits, one for each of the court-ordered projects. Exhibit 9, CSP-SAC Treatment Space
         22 includes an updated status on the “Bid and Award,” noting that “[t]he Conference committee on
         23 the Budget denied the request for construction funding in the 2009/10 Budget Act. This denial
         24 resulted in a 6-1/2 month delay in the bid and award schedule.”
         25            4.     On October 18, 2007, this Court ordered defendants to submit to the Special
         26 Master a development proposal for adequate mental health treatment and counseling space at
         27 Salinas Valley State Prison within 120 days from the date of the order. Docket 2461 at 6:3-5. In
         28 response, Defendants submitted a development proposal to the Special Master on February 14,
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             1 2008. A true and correct copy of this court-ordered proposal, which is also Plaintiffs’ Trial
             2 Exhibit P-479 in the overcrowding matter, is attached hereto as Exhibit C. The proposal
             3 described a project “to provide additional treatment and office space to the existing GP EOP
             4 program for 192 inmate-patients in addition to a 96 inmate-patient expansion for a total GP EOP
             5 program of 288 inmate-patients.” Id at DEFS021942. The proposal included a funding plan and
             6 a schedule, with preliminary funding in the 2008-0009 FY Budget and working
             7 drawings/construction funding in the 2009-2010 FY Budget, and completion of the project in
             8 September 2011. Id. Defendants’ most recent activation schedule, dated August 24, 2009,
             9 projects completion of this project in May 15, 2013 (almost two years later the original
         10 proposal.) Ex. B at Exhibit 12(Salinas Valley State Prison, Treatment Space for Enhanced
         11 Outpatient Program).
         12            5.     Defendants file their DMH Monthly Bed Utilization Report under seal and provide
         13 a copy to plaintiffs’ counsel. This report is filed under seal because it includes a complete list of
         14 all class members currently waiting for transfer to any level of DMH hospital care. A copy of
         15 the July 2009 DMH Monthly Bed Utilization Report, which has been filed under seal with the
         16 Court, (Docket No. 3644) is attached hereto as Exhibit D. I have directed staff in my office to
         17 redact the class member names from this list. DMH lists 147 Coleman patients at Atascadero
         18 State Hospital on their July 2009 DMH Monthly Bed Utilization Report. Id.
         19            6.     A copy of the August 2009 DMH Monthly Bed Utilization Report, which
         20 defendants has filed under seal with the Court (Docket No. 3673) and provided to plaintiffs’
         21 counsel, is attached hereto as Exhibit E. I have directed staff in my office to redact the class
         22 member names from this list. In the August 2009 Report, there were 542 prisoners listed by
         23 name in number 665 through 1206, who had been accepted and placed on the SVPP waitlist, and
         24 another 23 prisoners identified as PC 1370 (Incompetent to Stand Trial) in number 1209 through
         25 1231, who were also accepted and placed on the SVPP waitlist. The total SVPP waitlist on
         26 August 30, 2009 was 565 patients who had been accepted for inpatient care, but were waiting for
         27 an available bed. DMH also lists 169 Coleman patients at Atascadero State Hospital on their
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             1 August 2009 DMH Monthly Bed Utilization Report. Id. Only seven patients were scheduled for
             2 admission for the first week of September 2009. Id.
             3         7.      In response to an Order from this Court, the Department of Mental Health (DMH)
             4 provides a monthly census report on their patient populations treated in their CMF and SVSP
             5 programs. A true and correct copy of the August 2008 Monthly Report on the Licensure of
             6 Intermediate Care and Day Treatment Programs at the California Medical Facility, Vacaville,
             7 and the Salinas Valley Psychiatric Program, Salinas Valley State Prison is attached hereto as
             8 Exhibit F. On August 31, 2008, the waitlist for the SVPP ICF-H custody program was 166
             9 patients. Id.
         10            8.      A true and correct copy of the August 2009 Monthly Report on the Licensure of
         11 Intermediate Care and Day Treatment Programs at the California Medical Facility, Vacaville,
         12 and the Salinas Valley Psychiatric Program, Salinas Valley State Prison is attached hereto as
         13 Exhibit G. On August 31, 2009, there were a total of 426 patients on the SVPP waitlist,
         14 including 384 EOPs. Id. Among those 384 EOP patients, 141 were housed in segregated EOP-
         15 units (EOP ASU and PSU). Id.
         16            9.      Defendants provide a summary regarding the number of Mental Health Crisis Bed
         17 (MHCB) referrals and placements coordinated by Health Care Placement Oversight Program
         18 (HC-POP) staff each month. These referrals are made by clinicians working inside the prisons to
         19 this office located in CDCR Headquarters, which is tasked with finding an available MHCB for
         20 the referred patient. A true and correct copy of the Summary of Inter-Institutional Mental Health
         21 Crisis Bed Referrals and Transfers for July 2009 is attached hereto as Exhibit H. In July 2009,
         22 there were 185 referrals for a MHCB placement to HC-POP, with 98 of the patients successfully
         23 placed. Id. Among the 98 placements, the average days waiting for transfer were 5.13 days,
         24 with the longest wait of 12 days. Id at p. 3. Only four of the referrals were transferred within 24
         25 hours of referral. Id. The Mental Health Services Delivery System Program Guide mandates
         26 that transfer to an MHCB from any setting must occur “within 24 hours of referral.” 12-1-16,
         27 2009 Revision of Program Guide. A true and correct copy of the 2009 Revision of the Program
         28 Guide, 12-1-16, is attached hereto as Exhibit I.
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             1         10.    On September 15, 2008, Defendants provided a copy of the summary of MHCB
             2 referrals and placements for the month of August 2008. A true and correct copy of the Summary
             3 of Inter-Institutional Mental Health Crisis Bed Referrals and Transfers for August 2008, which is
             4 also Plaintiffs’ Trial Exhibit P-587 in the overcrowding matter, is attached hereto as Exhibit J.
             5 In August 2008, the number of referrals to HC-POP was 322 referrals, with 135 patients
             6 transferred. Id. However, HC-POP was able to transfer 58 of the 135 patients within 24 hours of
             7 referral, and the average time waiting before transfer was 2.04 days (as compared to 5.13 days in
             8 July 2009, nearly a year later). Id at 4; Ex. H at 3.
             9         11.    As part of the Coleman monthly data package, Defendants provide Enclosure 10, a
         10 report prepared by the Department of Mental Health, entitled, Summary Monthly Report of CDC
         11 Patients in DMH Hospitals. A true and correct copy of Enclosure 10 for the months of January
         12 2009, February 2009, March 2009, April 2009, May 2009, and June 2009 is attached hereto as
         13 Exhibit K. This report includes the CDCR patient census for Atascadero State Hospital, CMF
         14 Intermediate Care and Acute Care programs, Coalinga State Hospital, Patton State Hospital and
         15 Salinas Valley Psychiatric Program.
         16            12.    On June 15, 2009, in response to this Court’s March 30, 2009 order requiring that
         17 CDCR and DMH work together to expedite admissions for ICF inpatient care, Defendants
         18 provided a plan to the Coleman Special Master and to plaintiffs’ counsel. A true and correct
         19 copy of DMH’s Plan to Expedite Admissions for ICF Inpatient Care is attached hereto as
         20 Exhibit L. CDCR and DMH reported that they “are currently revising how the custody criteria
         21 regarding those individuals who are designated as Level IV, Clo B and MAX custody are given
         22 case-by-case consideration by CDCR for possible referral to ASH…CDCR and DMH have not
         23 had the opportunity to formally develop the approved draft criteria as a regulatory Pilot Program
         24 which these cases may be fairly reviewed and have that criteria vetted through each Department.
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             1 Therefore, CDCR and DMH have agreed that until that process has occurred, ASH may
             2 not accept individuals who have a Level IV, Clo B or MAX Custody status.” Id at 2
             3 (emphasis added).
             4         I declare under penalty of perjury that the foregoing is true and correct, and that this
             5 declaration was executed this 21st day of September, 2009, in San Francisco, California.
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             7                                                        /s/ Jane E. Kahn
                                                                      Jane E. Kahn
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